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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
CHRIS SIEGLE,
Plaintiff,
-vSs- Case No. 6:11-cv-89-Orl-18GJK
LTD FINANCIAL SERVICES, L.P.,

Defendant.

 

ORDER
On May 16, 2011 the plaintiff filed a Notice of Dismissal With Prejudice (Doc. No. 11).
Accordingly, pursuant to Fed.R.Civ.P. 41(a), it is
ORDERED that this cause is DISMISSED with prejudice. Clerk of the Court is directed
to CLOSE the case.

DONE and ORDERED in Orlando, Florida, this 24 day of May, 2011.

AL

G. KENDALL SHARP af
SENIOR UNITED STATES DISTRICT JUDGE

Copies to:

Counsel of Record

 
